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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    ULTRAVISION TECHNOLOGIES, LLC,

                          Plaintiff,
                                                       Case No. 2:18-cv-00100-JRG-RSP
           v.                                          LEAD CASE

    GOVISION, LLC                                      JURY TRIAL DEMANDED

                          Defendant.

    ULTRAVISION TECHNOLOGIES, LLC,

                          Plaintiff,
                                                       Case No. 2:18-cv-00112-JRG-RSP
                                                       MEMBER CASE
    SHENZHEN ABSEN OPTOELECTRONIC
    CO., LTD. ET AL.                                   JURY TRIAL DEMANDED

                          Defendants.


        DEFENDANTS’ OPPOSITION TO ULTRAVISION TECHNOLOGIES, LLC’S
           MOTION TO EXCLUDE TESTIMONY OF MR. RICHARD FLASCK
                  RELATING TO THE DAKTRONICS PROTOUR

          Defendants Shenzhen Absen Optoelectronic Co., Ltd., Absen, Inc., and Yaham

   Optoelectronics Co., Ltd. (“Defendants”) respectfully request that this Court deny Ultravision’s

   Motion to Exclude Testimony of Mr. Richard Flasck Relating to the Daktronics Protour.

   Defendants would be extremely prejudiced if its invalidity expert, Mr. Flasck, is barred from

   opining that claims under U.S. Patent Nos. 9,207,904 (“’904 Patent”) and 9,916,782 (“’782

   Patent”) are made obvious by a product that third-party Daktronics sold over a decade ago.

          As explained in Absen’s prior Motion for Leave to Supplement Invalidity Contentions, the

   Defendants were as diligent as possible in procuring the invalidating prior art from Daktronics.

   See D.I. 411 at 3. Indeed, the Defendants first learned the working details of the error detection

   system in the Daktronics Protour Modular Display from a third party witness and former
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   Ultravision employee, Roger Van Houtan, who testified that Ultravision was investigating

   Daktronics’ products long before Ultravision filed any patents. Id. Based on this testimony,

   Defendants immediately subpoenaed Daktronics for documents relating to Daktronics modular

   LED display products that included error detection or monitoring systems for defective panels and

   were sold or offered for sale prior to January 1, 2015. Id. At 1-2. Defendants received documents

   from Daktronics on September 3, 2020 and within days informed Ultravision of its intention to

   supplement its invalidity contentions in view of Daktronics’ third party production. Id. The

   Daktronics deposition took place on September 11 and Defendants provided Ultravision with

   supplemental contentions on September 15, 2020. Id. Defendants could not have moved for leave

   to supplement its invalidity contentions any sooner, yet Ultravision opposed.

           Two weeks after Defendants informed Ultravision of its intention to supplement its

   invalidity contentions, Defendants’ expert Richard Flasck included an invalidity argument based

   on the Daktronics ProTour Modular Display System in his Opening Expert Report served on

   September 22, 2020. The Daktronics ProTour Modular Display System with V-Tour controller is

   important to the case because it anticipates or renders obvious various asserted claims. Defendants

   will suffer meaningful prejudice if unable to present its full invalidity case. Ultravision, in contrast,

   would not be prejudiced by anything other than a meritorious argument; it had adequate time to

   respond to these arguments, with Rebuttal Reports due on October 12, 2020—over a month after

   Absen informed Ultravision of its intention to supplement and almost three weeks after Defendants

   served Mr. Flask’s report.

           Absen reiterates its request that the Court grant it leave to supplement its invalidity

   contention to include the Daktronics Protour Modular Display as prior art. See D.I. 411 at 5. As

   Ultravision admits, its motion to strike portions of Mr. Flasck’s report related to the Daktronics

   ProTour would be mooted if Absen’s motion for leave is granted. See D.I. 451 at 1.


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          For all the reasons set in Absen’s Motion for Leave (D.I. 411) and herein, Defendants

   respectfully requests that the Court deny Ultravision’s Motion to Exclude Testimony of Mr.

   Richard Flasck Relating to the Daktronics Protour Display System.


   Dated this 4th day of November, 2020          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I hereby certify that counsel of record who are deemed to have consented to electronic

   service are being served this 4th day of November, 2020, with a copy of this document via the

   Court’s CM/ECF system per Local Rule CV-5(a)(3).

                                             /s/ Harry L. Gillam, Jr.
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